        Case:1:20-cv-00452-BLW
        Case  21-35826, 01/19/2022, ID: 12344832,
                                 Document         DktEntry:
                                            95 Filed        34, Page
                                                     01/19/22   Page 11 of
                                                                        of 22




                     UNITED STATES COURT OF APPEALS                      FILED
                             FOR THE NINTH CIRCUIT                        JAN 19 2022
                                                                      MOLLY C. DWYER, CLERK
                                                                       U.S. COURT OF APPEALS
JOHN DOE; RANDALL MENGES,                          No.   21-35826

                 Plaintiffs-Appellees,             D.C. No. 1:20-cv-00452-BLW
                                                   District of Idaho,
  v.                                               Boise

LAWRENCE WASDEN, Attorney General                  ORDER
of the State of Idaho, in his official capacity;
et al.,

                 Defendants-Appellants.

Before: Lisa B. Fitzgerald, Appellate Commissioner.

       Appellees’ unopposed motion to file under seal the answering brief and

Volume 1 of the supplemental excerpts of record (Docket Entry No. 30) is granted.

The Clerk will file under seal the motion to seal (Docket Entry No. 30-1), the

unredacted answering brief (Docket Entry No. 30-2), and Volume 1 of the

supplemental excerpts of record (Docket Entry No. 30-3).

       Within 21 days of this order, appellees must submit for public filing the

motion to seal, omitting Appendixes B and C. Appellees must also submit for

public filing redacted versions of the answering brief and Volume 1 of the

supplemental excerpts of record that track the redactions set forth in the motion to

seal. The page numbering and citations in the public versions must remain the

same as in the sealed versions.

MKS/MOATT
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                               Document         DktEntry:
                                          95 Filed        34, Page
                                                   01/19/22   Page 22 of
                                                                      of 22




     The existing briefing schedule remains in effect.




MKS/MOATT                               2                                     21-35826
